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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
                                                             Case No.         2:19-CR-049-RMP
UNITED STATES OF AMERICA,
                                                             CRIMINAL MINUTES
                                  Plaintiff,
       -vs-                                                  DATE:            APRIL 16, 2019

JAYDIN LEDFORD,
                                                             MOTION TO REVIEW MAGISTRATE
                                  Defendant.                 RULING HEARING

                                  HON. ROSANNA MALOUF-
                                        PETERSON
        Michelle Fox                              02                                Ronelle Corbey
     Courtroom Deputy                          Law Clerk                            Court Reporter

                Patrick Cashman                                          Andrea George

              Government Counsel                                        Defense Counsel

United States Probation Officer: Tommy Rosser and Shawn Kennicutt

      [ X ] Open Court                   [ ] Chambers                           [ ] Telecon
Defendant present and in custody of U.S. Marshal.
Motion to Review Magistrate Ruling, ECF No. 34
P. Cashman presents argument on Motion.
   Court questions counsel.
   P. Cashman continues argument.
   Court questions counsel.
   P. Cashman continues argument.
   Court questions counsel.
   P. Cashman continues argument.
A. George presents argument on Motion.
   Court questions counsel.
   A. George continues argument.
Court addresses the defendant. Court rules. Court will issue an Order. DENY Motion
for Detention. Affirming Judge Rodgers’ Order. Reinstate all previous conditions.
Defendant will be released tomorrow at 8:30 am to a Federal Defender employee.

[ X ] ORDER FORTHCOMING

CONVENED: 1:00 P.M.       ADJOURNED: 1:35 P.M.             TIME:    35 MIN.        CALENDARED        [ X ]
